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United States Bankruptcy Court
Western District of Oklahoma

 

 

 

 

 

 

Inre JOHN SANER Case No.
CHAPTER 13 PLAN
Check if this is an amended plan
1. NOTICES:

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on the form
does not indicate that the option is appropriate in your circumstances or that it is permissible in your judicial
district, Plans that do not comply with local rules and judicial rulings may not be confirmable.

In the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. Tf you do
not have an attorney, you may wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered
by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
confirmation is filed, See Bankruptcy Rule 3015. In addition, you must file a timely proof of claim in order to be paid
under any plan.

 

 

 

The plan contains nonstandard provisions set out in Section 10, i=l Yes | C) No
The plan limits the amount of a secured claim based on a valuation of the collateral in accordance with [=] Yes [| LINo
Section 5,.C.(2)(b).

The pian avoids a security interest or lien in accordance with Section 9, LI Yes | [=] No

 

 

 

 

 

2. PAYMENTS TO THE TRUSTEE: The Debtor (or the Debtor’s employer) shall pay to the Trustee the sum of $1650.50 per
month for 60. months. If the plan payment structure is in the form of step payments, the payment structure is indicated below,
Plan payments to the Trustee shall commence on or before 30 days after the Chapter 13 Petition is filed, The Debtor shall turn
over such additional funds as required by law and/or any Court Order.

Step payments: $
Minimum total of plan payments: $99,029.65
The Debtor intends to pay plan payments:
[] Direct or
CO By wage deduction from employer of: [] Debtor
CO Joint Debtor
Debtor's Pay Frequency: [®] Monthly [7] Semi-monthly (24 times per year) [Bi-weekly (26 times per year) [] Weekly [[] Other

Joint Debtor's Pay Frequency: CJ Monthly [7] Semi-monthly (24 times per ycar) [ JBi-weekly (26 times per year) [J Weekly
L] Other

3. PLAN LENGTH: This plan is a 60 month plan.
4. GENERAL PROVISIONS:
a. As used herein, the term "Debtor" shall include both Debtors in a joint case,

b. Student loans are non-dischargeable unless determined in an adversary proceeding to constitute an undue hardship under 11
U.S.C, §523(a}(8).
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The Trustee will make no disbursements to any creditor until an allowed proof of claim has been filed. In the case of a
sccured claim, the party filing the claim must attach proper proof of perfection of its security interest as a condition of
payment by the Trustee.

Creditors not advising the Trustee of address changes may be deemed to have abandoned their claims.

All property shall remain property of the estate and shall vest in the Debtor only upon dismissal, discharge, conversion or
other specific Order of the Court. The Debtor shall be responsible for the preservation and protection of all property of the
estate not transferred to and in the actual possession of the Trustee.

The debtor is prohibited from incurring any debts except such debts approved pursuant to the Court’s directives or as
necessary for medical or hospital care.

5. DISBURSEMENTS TO BE MADE BY TRUSTEE:

A.

ADMINISTRATIVE EXPENSES:
(|) Estimated Trustee's Fee: 7.5 %
(2) Attomey's Fee (unpaid portion): $2500.00 to be paid through plan in monthly payments
(3) Filing Fee (unpaid portion): $None
PRIORITY CLAIMS UNDER 11 U.8.C. § 507;
(1) DOMESTIC SUPPORT OBLIGATIONS:
(a) Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim,

(b) The name(s) of the holder(s) of any domestic support obligation are as follows:

 

(c) Anticipated Domestic Support Obligation Arrearage Claims. Unless otherwise specified in this Plan, priority claims
under 11 U.S.C, § 507(a){1) will be paid in full pursuant to 11] U.S.C. § 1322(a)2)}. These claims will be paid at the same
time as secured claims. Any allowed claim for a domestic support obligation that remains payable io the original
creditor shall be paid in full pursuant to the filed claim, unless limited by separate Court Order or filed Stipulatton.

(-) Arrearage shall be paid through wage assignment, pursuant to previous Order entered by a non-bankruptcy Court,

(CO Arrearage shall be paid in full through the plan,

 

 

 

 

Name Estimated arrearage | Projected monthly arrearage
claim payment in plan
$ $
5 $

 

 

 

 

(d) Pursuant to §§ 307(a)(1 4B) and 1322(a)(4), the following domestic support obligation claims are assigned to, owed
to, or recoverable by a governmental unil, and shall be paid as follows:

 

| Claimant and proposed treatment: |

 

(2) OTHER PRIORITY CLAIMS:

(a) Pre-petition and/or post-petition priority tax claims shall be paid in full pursuant to the filed claim unless
limited by separate Court Order or filed Stipulation.

 

Name Estimated Claim
$
$

 

 

 

 

 

(b) All other holders of priority claims listed below shall be paid in full as follows:

 

Name Amount of Claim
$
$

 

 

 

 

 

 
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SECURED CLAIMS:

(1) PRE-CONFIRMATION ADEQUATE PROTECTION: Pre-confirmation adequate protection payments to the
following Creditors holding allowed claims secured by a purchase money security interest im personal property shall be paid
by the Trustee through the plan as provided below. Adequate protection payments shall not be paid until the Creditor files a
proof of claim, with proper proof of sccurity attached.

Pre-Confirmation
Monthl

$

Name Collateral Descri

§
$

 

(2) SECURED DEBTS WHICH WILL NOT EXTEND BEYOND THE LENGTH OF THE PLAN:

(a) SECURED CLAIMS NOT SUBJECT TO VALUATION: Secured creditors with a purchase money security interest
securing a debt either incurred within the 910-day period preceding the filing of the bankruptcy petition where the collateral
is a motor vehicle acquired for personal use, or incurred within the 1-year period preceding the bankruptcy petition where
the co!latcrai is any other thing of value, shall be paid in full with interest at the rate stated below. The amount stated on an
allowed proof of claim controls over any contrary amount listed below.

 

 

 

 

Estimated Amount
Name Collateral Desenption of Claim Monthly Payment | Interest Rate
$ 5 “a
$ 3 %
$ 4 Ye

 

 

 

 

 

 

 

(b) SECURED CLAIMS SUBJECT TO VALUATION: All other secured creditors, except secured tax creditors, shall
be paid the proposed secured value with interest in the amounts stated below. To the extent the proposed secured value
exceeds the secured claim, only the claim amount, plus interest shall be paid. Secured tax claims shall be paid as filed
unless limited by separate Court Order.

NOTE: The valuation of real estate requires the filing of a motion to determine valye and the entry of a separate Court
Order before any proposed secured value of real estate stated below may be approved.

 

 

 

 

Proposed Secured
Name Collateral Description Value Monthly Payment | Interest Rate
Mae Tage ok National Assoc. [Lot Twenty wo (22) block || .130,000.00 | 5677.01___—_—| 7.750,

$ $ ve

5 $ “

 

 

 

 

 

 

 

(3) DEBTS SECURED BY PRINCIPAL RESIDENCE WHICH WILL EXTEND BEYOND THE LENGTH OF THE
PLAN (LONG-TERM DEBTS):

 

 

 

 

 

 

 

 

 

 

 

*Monthly | *1" Post-petition | *Estimated Amt | Tnierest On
Name Collateral Description Ongoing Pymt Payment of Arrearage Arrearage |
HSBC Bank USA 1716 Magnolia Langs $816.67 $816.67 $49000.00 7.59 “
$ $ $ Me
$ $ $ “

 

 

*The “1" post-petition payment” is the monthly ongoing mortgage payment which comes due between the petition date and the due date of
the first plan payment. The arrearage amounts, monthly ongoing payment, and 1* post-petition payment are estimated and will be paid
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according Lo the amount stated on the claim unless objected lo and limited by separate Court Order. The interest rate to be paid on the
artcarage and the 1“ post-petition payment is reflected above.

(4) OTHER SECURED DEBTS WHICH WILL EXTEND BEYOND THE LENGTH OF THE PLAN (LONG-TERM
DEBTS):

“Monthly =| "1 Post-petition | *Estimated Amt | Intercst On
Name Collateral ipti of
$ $ $ Yo

$ $ $ vo
3 $ $ Yo

 

* The “1* post-petition payment” is the monthly ongoing payment which cores due between the petition date and the due date of the first
plan payment. The arrearage amounts, monthly ongoing payment, and 1* post-pctition payment arc estimated and will be paid according to
the amount stated on the claim unless objected to and limited by separate Court Order. The interest rate to be paid on the arrearage and the
I“ post-petition payment is reflected above,

D. UNSECURED CLAIMS:

(1) Special Nonpriority Unsecured claims shall be paid in full plus interest at the rate stated below, as follows:

 

 

 

 

 

 

 

 

 

Name Amount of Claim Interest Rate
§ %
$ %
$ %

(2) General Nonpriority Unsecured: Other unsceured creditors shall be paid pro-rata approximately __—_spercent, unless the

plan guarantees a set dividend as follows:
Guaranteed dividend to non-pronty unsecured creditors:
6. DIRECT PAYMENTS BY DEBTOR: The Debtor shall make regular payments directly to the following creditors:

Name Amount of Monthly Collateral Desenption if Applicable
Claim Paymicnt

 

$ $
$ $
5 5

NOTE: Direct payment will be allowed only if the debtor is current on the obligation, the last payment on the obligation comes
due after the last payment under this plan, and no unfair preference is created by the direct payment.

7. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: The plan rejects all executory contracts and unexpired leases,
except as follows:

 

Name Description of Contract or Lease

 

 

 

 

 

8. SURRENDERED PROPERTY: The following property is to be surrendered to the secured creditor, with a deficiency allowed,
unless specified otherwise. The Debtor requests the automatic stay be terminated as to the surrendered collateral upon entry of
Order Confirming Plan or other Order of the Court.

Name Amount of Claim Collateral

$

 

$
$
$

 
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9. LIEN AVOIDANCE: Ne lien will be avoided by the confirmation of this plan. Liens may be avoided only by separate Court
Order, upon proper Motion including reasonable notice and opportunity for hearing.

Liens Debtor intends to avoid:

Name Amount of Claim

 

10.NONSTANDARD PLAN PROVISIONS: Any nonstandard provision placed clsewhere in this plan is void.

By checking this box certification is made by the Debtor, if not represented by an attorney, or the Attorney for Debtor, that the plan
contains no nonstandard provision other than those set out in this paragraph,

Date 05/01/2019 Signature /s/John Saner
Debtor

Date Signature

 

Joint Debtor

Roland V. Combs, III

 

Attomey Signature

/s/ Roland V. Combs, IIT
Attomey Name

11073

Bar Number

3200 N.W. 48th Strect
Address

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